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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :
                                           :       Case No.: 23-CR-00095
Jeffrey Michael Etter,                     :
                                           :
              Defendant.                   :

                         NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney (AUSA) Joshua Ontell. AUSA Joshua Ontell will be substituting

for AUSA Nathaniel Whitesel.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052


                             By:           /s/ Nathaniel Whitesel
                                           Nathaniel Whitesel
                                           Assistant United States Attorney
                                           United States Attorney’s Office
                                           District of Columbia
                                           Cell No. (202)-834-5233
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                                  CERTIFICATE OF SERVICE

       On this 29TH day of March 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                            _ /s/ Nathaniel Whitesel
                                            NATHANIEL WHITESEL
                                            Assistant United States Attorney
